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From:            Houghton-Larsen, M Annie
To:              "Joe Sibley"
Cc:              Gottlieb, Michael; Governski, Meryl Conant; Ryan, Timothy
Subject:         Freeman v. Giuliani - Ellis Deposition
Date:            Monday, June 26, 2023 11:17:49 AM


Joe,

Following up to confirm our call this morning. As we discussed on the call, Plaintiffs are taking Ms.
Ellis’ deposition today at 11a, after conferring with counsel for Ms. Ellis extensively regarding the
date of her deposition. We spoke in advance of beginning the deposition, and you indicated that
you did not intend to attend.

Thanks,
Annie


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Pronouns: she, her, hers
